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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION

 WHOLE WOMAN’S HEALTH, et al.,           §
     Plaintiffs,                         §
                                         §
 v.                                      §     Civil Action No. 1:16-cv-01300-DAE
                                         §
 CHARLES SMITH, EXECUTIVE                §
 COMMISSIONER OF THE TEXAS               §
 HEALTH AND HUMAN SERVICES               §
 COMMISSION, IN HIS OFFICIAL             §
 CAPACITY,                               §
     Defendant.                          §


                     DEFENDANT’S NOTICE OF APPEAL


      Defendant Charles Smith, in his official capacity as Executive Commissioner

of the Texas Health and Human Services Commission, appeals to the United States

Court of Appeals for the Fifth Circuit from the Memorandum Opinion Incorporating

Findings of Fact and Conclusions of Law (Doc. 252) and Judgment (Doc. 253) entered

in the above-referenced cause of action on September 5, 2018.
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                      Respectfully submitted,

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                         CERTIFICATE OF SERVICE

       I hereby certify that on September 5, 2018, a true and correct copy of this
document was electronically filed using the Court’s CM/ECF system, which will send
notification of such filing to all counsel of record, including the following:

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